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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)

                                                              Ref. Nos. 282, 432, 747, 1196, 1443


                       NOTICE OF FILING OF FOURTH AMENDED OCP LIST

                     PLEASE TAKE NOTICE that on December 21, 2022, the above-captioned

debtors and debtors-in-possession (the “Debtors”) filed the Motion of Debtors for Entry of an

Order Implementing Certain Procedures to Retain, Compensate and Reimburse Professionals

Utilized in the Ordinary Course of Business [D.I. 282].

                     PLEASE TAKE FURTHER NOTICE that on January 9, 2023, the Court

entered the Order Authorizing Procedures to Retain, Compensate and Reimburse Professionals

Utilized in the Ordinary Course of Business [D.I. 432] (the “OCP Order”), and attached to the

OCP Order as Exhibit 1 is the authorized list of ordinary course professionals.

                     PLEASE TAKE FURTHER NOTICE that on February 21, 2023, the Debtors

filed the First Amended OCP List [D.I. 747] (the “First Amended OCP List”).

                     PLEASE TAKE FURTHER NOTICE that on March 30, 2023, the Debtors

filed the Second Amended OCP List [D.I. 1196] (the “Second Amended OCP List”).




1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
    and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
    the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
    complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



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                     PLEASE TAKE FURTHER NOTICE that on May 5, 2023, the Debtors filed

the Third Amended OCP List [D.I. 1443] (the “Third Amended OCP List”).

                     PLEASE TAKE FURTHER NOTICE that the Debtors hereby file a further

revised list of ordinary course professionals (the “Fourth Amended OCP List”) attached hereto as

Exhibit A.

                     PLEASE TAKE FURTHER NOTICE that a blackline of the Fourth Amended

OCP List marked against the Third Amended OCP List is attached hereto as Exhibit B.


Dated: May 24, 2023                         LANDIS RATH & COBB LLP
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